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  6                            UNITED STATES DISTRICT COURT
  7                           CENTRAL DISTRICT OF CALIFORNIA
  8     BRIAN WHITAKER,                         Case No. 2:20-cv-07877-MWF-PD
  9              Plaintiff,                     NOTICE OF APPEARANCE OF
           v.                                   COUNSEL
 10
        J PETERSON PROPERTY, LLC, a
 11     California Limited Liability Company;
        PETERSON ENTERPRISES, LLC, a
 12     California Limited Liability Company;
        and Does 1-10,
 13
                 Defendants.
 14
 15          Please take notice that Amanda Seabock of the firm Center for
 16   Disability Access, 8033 Linda Vista Road, Suite 200, San Diego, CA 92111,
 17   hereby appears as counsel on behalf of Plaintiff BRIAN WHITAKER. All
 18   pleadings and other documents served on BRIAN WHITAKER should also be
 19   directed to the attention of Amanda Seabock.
 20
 21   Dated: November 05, 2020             CENTER FOR DISABILITY ACCESS
 22
                                           By: /s/ Amanda Seabock
 23                                              Amanda Seabock
                                                 Attorney for Plaintiff
 24
 25
 26
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 28




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      Notice of Appearance of Counsel                Case:: 2:20-cv-07877-MWF-PD
